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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA *
                         *
    v.                   *     Case No. 21-cr-00190-DLF
                         *
ZACHARY JORDAN ALAM      *
                         *
*   *    *   *    *  *   *    *     *     *     *    *  *
  REPLY TO THE UNITED STATES’ RESPONSE TO DEFENDANT’S
                MOTION TO DISMISS COUNTS

      The Defendant, Zachary Alam, by and through his attorneys, Michael E.

Lawlor, and Brennan, McKenna & Lawlor, Chtd, hereby respectfully submits this

reply to the Government’s response in opposition to his previously filed motion to

dismiss Counts Three, Five, Six, Seven, & Eight of the First Superseding Indictment.

      In reply to the Government’s response in opposition to the challenge presented

against Count Five, Mr. Alam respectfully highlights, and sets forth the same reasons

presented in the court’s recent opinion in United States v. Garret Miller, 1:21-CR-

119 (CJN), ECF No. 72. In Miller, the court found that Miller’s alleged conduct

failed to fit within the scope of 18 U.S.C. §1512(c)(2). The same is true here. As

discussed below, the reasoning in Miller applies equally to Mr. Alam. Therefore, the

Court should dismiss Count Five.

      For the reasons presented in Mr. Alam’s original motion, the Court should

also dismiss Counts Three, Six, Seven and Eight of the First Superseding Indictment.
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                                   ARGUMENT

      In Miller, the court found the word “otherwise” in §1512(c)(2) “critical to

determining what §1512(c)(2) covers.” Id. at 11. The court rejected the

Government’s suggestion that “otherwise” “serve[d] as a clean break between

subsections (c)(1) and (2).” Id. at 11-12. It explained that the Government’s

proffered reading failed to “give meaning to the word ‘otherwise,’” and rendered the

word “pure surplusage.” Id. at 12. The court further reasoned that the Government’s

reading was inconsistent with Begay v. United States, 553 U.S. 137 (2008), in which

the United States Supreme Court concluded that the Armed Career Criminal Act’s

(“ACCA”) use of the word “otherwise” tied together the preceding and following

words. Id. at 12-13. Specifically, the Supreme Court in Begay concluded that “the

text preceding ‘otherwise’ influenced the meaning of the text that followed: it

‘limited the scope of the clause to crimes that are similar to the examples

themselves.’” Id. at 13 (quoting Begay, 553 U.S. at 143). The court went on to

explain why cases that adopted the “clean break reading of ‘otherwise’ in

§1512(c)(2)” were incorrect. Id. at 14-15.

      The court also rejected the Government’s alternative reading of the statute –

“that subsection (c)(1) contains specific examples of conduct that is unlawful under

subsection (c)(2)” such that that the “link between” the two subsections “is that the

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unlawful conduct must relate to an ‘official proceeding.’” Id. at 15 (citing United

States v. Montgomery, 2021 WL 6134591, at *12). As the court explained, the

problem with this alternative reading is that it renders the word “otherwise”

superfluous because both subsections contain the phrase “official proceeding.” Id. at

15-16.

      The court concluded that “[s]ubsection (c)(2) is a residual clause for

subsection (c)(1),” operating as a “catchall for the prohibition contained in

subsection (c)(1).” Id. at 17. Under this interpretation, consistent with the Supreme

Court’s holding in Begay, the link between the two subsections is the conduct

prescribed in subsection (c)(1), and “subsection (c)(2) operates to ensure that by

delineating only certain specific unlawful acts in (c)(1) . . . – Congress was not

‘underinclusive’” by allowing other ways to violate the statute that are similar to the

conduct prohibited in (c)(1). Id. at 17-18.

      Delving deeper, the court reasoned that the structure and scope of §1512

suggests that subsection (c)(2) has a narrow focus, because the other subsections

criminalize specific conduct in narrow contexts. Id. at 20. The court further reasoned

that while subsections (c)(2) and (c)(1) are different than the other subsections,

because they prohibit an individual from taking certain actions directly rather than

towards another person, the language in subsection (c)(1) still “homes in on a

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narrow, focused range of conduct.” Id. at 21. The court explained that, by contrast,

if §1512(c)(2) “signals a clean break” from subsection (c)(1), it would be

inconsistent with the statute as a whole because it would be the only provision to not

contain a narrow focus. Id. The court reiterated that any different reading would

improperly render subsection (c)(2) unnecessary. Id. at 21-22.

      The court also discussed how the historical development of §1512 supports

the conclusion that §1512(c)(2) operates as a catchall to (c)(1). Id. at 23-25. Per the

court, the revisions to §1512(c) in 2002 filled a gap that existed because §1512(b)

made it unlawful to cause “another person” to take certain actions but not for a

person to take such action directly. The 2002 enactment of 1512(c) fixed that

problem and took much of its language directly from 1512(b). Id. 23-24. The fact

that Congress took much of the language from a provision already contained in

subsection (b), shows Congress’s intent for subsection (c) to have a narrow, limited

focus – just like subsection (b)(2)(B). Id. at 25.

      Lastly, the court found that the legislative history also supports a narrow

reading of subsection (c)(2). Id. at 26-28. The court explained the evolution of

§1512(c) resulted in a statute that ensured that individuals acting alone would be

liable for the same acts that were prohibited in other parts of §1512. Id. at. 27-28.




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       For all those reasons, the court in Miller held that §1512(c)(1) limits the scope

of (c)(2) and “requires that the defendant have taken some action with respect to a

document, record, or other object in order to corruptly obstruct, impede or influence

an official proceeding.”1 Id. at 28.

       Because the Government did not allege that Mr. Miller took any action with

respect to records or documents or “other objects,” the court held that the indictment

failed to state an offense against him. Id. at 29. Here, just as in Miller, the indictment

does not allege or imply that Mr. Alam took any action with respect to a document,

record, or other object in order to corruptly obstruct, impede or influence Congress’s

certification of the electoral vote. See Superseding Indictment, ECF No. 39.

Therefore, it fails to allege a violation of §1512(c)(2).

       Mr. Alam respectfully urges this Court to adopt the analysis and reasoning set

forth in Miller, and find that Count Five fails to state an offense against him because

there is no allegation that he took any action with respect to records or documents.




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        The Miller court also explained that, even assuming arguendo its interpretation was
incorrect, at the very least the Court would be left with “serious ambiguity in a criminal statute”
requiring lenity. Id.




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                                  CONCLUSION

      For the reasons presented here and in Mr. Alam’s original motion, and those

reasons that shall be presented at a hearing on this matter, Mr. Alam respectfully

requests that the Court dismiss Counts Three, Five, Six, Seven and Eight of the First

Superseding Indictment.



                                       Respectfully submitted,
                                             /s/
                                       ______________________
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                         CERTIFICATE OF SERVICE

      I hereby certify that on this day, July 26, 2022, a copy of the foregoing was

sent via ECF to the United States Attorney’s Office for the District of Columbia.

                                                        /s/
                                                   ______________________
                                                   Michael E. Lawlor




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